Ao245 s raev(?@§i?<i¥.b%a.@r£v§%§§e?r~?R§gm§@§§@&%%i%§§eF"ed 05/25/05 Page 1 Of 2 Page'D 20

UN|TED STATES D|STR|CT COURT
Western District of Tennessee

UNITED STATES OF AN|EFl|CA
Plaintiff,

 

VS. Case Number 2:04CR20353

HATONIA VENE PERFlY
Defendant.

JUDGNlENT AND COlVllVllTNlENT ORDER

ON SUPERV|SED RELEASE VlOLAT|ON
(For Offenses Committed On or After November 1, 1987)

The defendant, Ratonia Vene Perry, was represented by Ned Germanyl Esq.

lt appearing that the defendant, who was convicted on |Vlarch 3, 1999 in the above styled cause and was placed
on Supervised Ftelease for a period of four (4) years and has violated the terms of Supervised Flelease.

lt is hereby OFtDEFtED and ADJUDGED that the Supervised Fte|ease of the defendant shall be REVOKED and
the defendant shall be given credit for four (4) months custody previously served. Defendant is further sentenced to a
period of Supervised Ftelease that will terminate on October 9, 2007.

FUFtTl-lERl\/lOFlE, the defendant shall be subject to the terms and conditions of release that were previously
imposed.

The defendant shall participate in substance abuse testing and treatment programs as directed bythe Probation
Officer.

§"F\
signed this the 2- day or May, 2005.

/

.DA E[E,HEEN "`
NlT o sTATEs oisTFrlcT Juer

This document entered on the docket sheet in compliance
Wirh sure 55 and/or 32(b) Fnch on§' 510

 

Defendant's SS No.: XXX-XX-XXXX
Defendant‘s Date of Birth: 7/25/1976
U.S. l\/|arshal No.: 21324-009
Defendant‘s l\/lai|ing Address: 3731 Belleau, l‘\/lemphis1 TN 38128

@

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CR-20353 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

